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B2030 (Form 2030) (12/15)

United States Bankruptcy Court
Eastern District of Kentucky

Donald Anthony Fitzpatrick

Inre Ashley Louise Fitzpatrick - Case No.  24-50512-grs

Debtor(s) Chapter 11

DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)

Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attomey for the above named debtor(s) and that
compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

For legal services, I have agreed to accept $ 12,000.00
Prior to the filing of this statement I have received $ 12,000.00

Balance Due $ 200 per h our / $ 0.00

The source of the compensation paid to me was:

H Debtor O Other (specify):

The source of compensation to be paid to me is:

H Debtor O Other (specify):

Hi [ have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

C Ihave agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

a, Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;

b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required:

c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

d. [Other provisions as needed]
Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
522(f)(2)(A) for avoidance of liens on household goods.

By agreement with the debtor(s), the above-disclosed fee does not include the following service:
Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
any other adversary proceeding.

CERTIFICATION

I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in

this bankruptcy proceeding.
May 13, 2024 isi John T. Hamilton Le

Date John T. Hamilton K6A : 25 (2 7

Signature of Attorney
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Name of law firm

